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Attorneys for Receivership Funds


                          UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEVADA

In re:                                                Lead Case No.: BK-19-50102-gs
                                                      (Chapter 7)
DOUBLE JUMP, INC.,

      Debtors.                                        Jointly Administered with:
____________________________________/                 19-50130-gs DC Solar Solutions, Inc.
INTERNATIONAL SPEEDWAY                                19-50131-gs DC Solar Distribution, Inc.
CORPORATION,                                          19-50135-gs DC Solar Freedom, Inc.

         Plaintiff,
v.                                                    Adv. Pro. No. 22-05006-gs

NEIL LURIA, IN HIS CAPACITY AS                         Receiver’s Reply to ISC’s Response to
RECEIVER FOR SOLAR ECLIPSE FUND                        Receiver’s Motion to Dismiss and in
IV, LLC, SOLAR ECLIPSE INVESTMENT                      Support of Motion to Dismiss
FUND V, LLC, et al.,

      Defendant.
_____________________________________/

         Defendant, Neil Luria, solely in his capacity as court-appointed receiver (“Receiver”), for

Solar Eclipse Investment Fund IV, LLC and the other investment funds over which he has been

appointed Receiver (“Receivership Funds”), submits this reply in response to Plaintiff’s

Opposition to Defendant’s Motion to Dismiss [ECF No. 31] (“Response”) and in support of his

previously filed motion to dismiss this Adversary Proceeding [ECF No. 10], and states:

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         I.       Preliminary Statement

         Your Honor is actually the fourth judge to whom ISC has argued that the Receiver and the

non-receivership Funds (with the Receivership Funds, “Funds”) assert claims that constitute

property of the Debtors’ bankruptcy estates (“Bankruptcy Estate”) in the state court litigation

pending in Florida (“Florida Action”). ISC’s blatant forum shopping should not be condoned. ISC

failed to cite to this Court on point legal precedent holding that the claims asserted by the Funds

are not property of the Bankruptcy Estate. This unpublished authority was known to ISC because

it happened in the Florida case between ISC and the Funds when ISC tried to remove the case to

Federal Court.

         First, the United States Magistrate Judge squarely rejected the argument ISC now makes

to Your Honor:

         ISC has failed to explain how this case has any tangible effect on the bankruptcy
         estate. Any recovery would, in other words, not be from the debtor’s estate. …
         And any relief would also be for the sole benefit of Plaintiffs, not DC Solar.

Report and Recommendation on Plaintiffs’ Motion for Remand, No. 1:20-cv-25257-DPG (S.D.

Fla. Feb. 16, 2021) [ECF No. 30] at 30-31(emphasis supplied). (Exh. A to Notice of Unpublished

Authority); see also Report and Recommendation on Plaintiff’s Motion to Remand, No. 1:20-cv-

24012-DPG (S.D. Fla. Jan. 13, 2021) [ECF No. 36] at 20-21 (Exh. B to Notice of Unpublished

Authority). Specifically rejecting ISC’s argument that the federal court possessed “related to”

jurisdiction over claims being asserted in state court against ISC,1 the Magistrate Judge stated that

         it is entirely unclear as to how this case is “related to” the pending bankruptcy
         matter in Nevada when all we have here is one non-debtor seeking damages against


1
 The Funds do not dispute the general proposition that bankruptcy courts possess jurisdiction to
determine if property constitutes property of the estate. Response at 7. Instead, the Funds submit
that the claims they are prosecuting in the Florida Action against ISC are beyond the scope of the
Court’s “related to” jurisdiction because they involve non-debtor third parties. Any recovery from
ISC would not be paid to or come from the Bankruptcy Estate.
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         other non-debtors. This is a glaring shortfall in exercising “related-to” jurisdiction
         because nowhere in the complaint do Plaintiffs seek a recovery in connection
         with DC Solar’s bankruptcy estate. And courts have repeatedly held that “claims
         to recover non-estate property do not satisfy the ‘related to’ requirement.”

Report and Recommendation on Plaintiffs’ Motion for Remand, No. 1:20-cv-25257-DPG at 29

(citations omitted) (emphasis supplied).2

         Second, ISC challenged the Magistrate’s Report and Recommendation to the District Court

in Case No. 1:20-cv-24012, including even that there were no misrepresentations by ISC to the

Funds. This is the same argument ISC made to Your Honor at the June 30, 2022 status conference.3

The District Court Judge also rejected ISC’s arguments, holding:

         Indeed, while DC Solar is repeatedly referenced, there is nothing in the
         Complaint which would indicate that Plaintiffs’ recovery would be from DC
         Solar’s Estate.

Order Adopting Judge Torres’ Report and Recommendation, No. 1:20-cv-25257-DPG (S.D. Fla.

Aug. 10, 2021) [ECF No. 43] at 3-4 (Exh. C to Notice of Unpublished Authority); see also Order

Adopting Judge Torres’ Report and Recommendation, No. 1:20-cv-24012-DPG (S.D. Fla. June

23, 2021) [ECF No. 52] at 4-5 (Exh. D to Notice of Unpublished Authority).

         Beyond disputing that the prior remand litigation in federal court did not determine whether

the Funds’ claims in the Florida Action were property of the Bankruptcy Estate, Response at 9,



2
  The tort claims being asserted in the Florida Action do not “arise under” the Bankruptcy Code or
“arise in” connection with the Debtors’ chapter 7 cases. See In re Ray, 624 F.3d 1124, 1131 (9th
Cir. 2010). ISC argues “arising under” jurisdiction exists regarding a determination of whether the
Florida Action is property of the estate. Response at 7-8. But ISC’s request for a declaratory
judgment is premised on state law claims asserted against it in the Florida Action which have no
basis in the Bankruptcy Code. See Ray, 624 F.3d at 1131 (“A matter ‘arises under’ the Bankruptcy
Code if its existence depends on a substantive provision of bankruptcy law, that is, it if involves a
cause of action created by a statutory provision of the Bankruptcy Code.”).
3
  ISC Memorandum in Opposition to Motion for Remand, No. 1:20-cv-24012-DPG (S.D. Fla.)
[ECF No. 22] at 10; June 30, 2022 Tr. at 20:6-11; 26:17-21.
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ISC argues that legal precedent arising from that litigation is outside the pleadings. See id. at 8 n.3.

That is ridiculous. Legal authority is not evidence. In addition, ISC argues that two federal judges’

holdings are irrelevant. See id. at 8-9. This is also ridiculous. Although this precedent from the

United States District for the Southern District of Florida is not binding on Your Honor, both

Judges addressed the exact issue ISC raises here—holding “there is nothing in the Complaint

which would indicate that Plaintiffs’ recovery would be from DC Solar’s Estate”—under the very

same jurisdictional statute, 28 U.S.C. 1334(b), that applies here. See Order Adopting Judge Torres’

Report and Recommendation, No. 1:20-cv-25257-DPG [ECF No. 52] at 3-4.

         Third, the Florida Action was then remanded back to the Florida court, where a new

Complaint was filed consolidating Plaintiffs’ claims because ISC refused to accept service of the

prior complaint and the time to serve had expired in state court due to ISC’s removal to federal

court and the duration of the federal court remand litigation. ISC then made the same argument to

a third judge—the Florida state court Judge—but did not set their Motion to Dismiss for hearing.

         Fourth, by this Adversary Proceeding, ISC has decided to forum shop for a fourth judge—

Your Honor—to hear its arguments. ISC filed this Adversary Proceeding and its amended motion

for TRO and preliminary injunction [ECF No. 21] asking Your Honor to decide the same issue

already rejected by a United States Magistrate Judge and a United States District Judge and already

filed and currently pending before a Florida state court Judge.

         It is troubling that ISC did not disclose the fact or circumstances of the adverse rulings it

suffered in the removal/remand litigation as part of its recitation of the procedural background in

any of the pleadings it has filed in this Adversary Proceeding with the exception of a passing

reference in its Response, see pg. 8. While not binding in this Adversary Proceeding, these rulings

squarely refute the proposition urged by ISC that the claims the Funds are prosecuting in
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the Florida Action are derivative claims. In fact, these rulings squarely support the proposition that

the Funds’ claims are direct claims involving non-debtors that do not constitute property of the

Bankruptcy Estate, and as a result this Court lacks subject matter jurisdiction over them. If the

claims being asserted in the Florida Action were property of the Bankruptcy Estate, the District

Court in the Southern District of Florida would have found it had “related to” jurisdiction. But it

did not do so. Accordingly, the Funds are not putting “the cart before the horse,” Response at 6,

by citing to the adverse rulings ISC suffered in the removal/remand litigation. Indeed, in denying

ISC’s request for a TRO, this Court has already found that the claims being asserted in the Florida

Action by the Funds are direct claims.

         The timing of the rulings in the removal/remand litigation and this Court’s approval of

ISC’s settlement with the Trustee, the epicenter of this dispute, profoundly undermines ISC’s bona

fides and legal position. ISC had the benefit of two Reports and Recommendations and District

Court Orders from the Southern District of Florida adopting them months before the January 13,

2022, hearing on the approval of its settlement with the Trustee (“Trustee-ISC Settlement”) [ECF

No. 3141 (Hr’g Transcript)], and before Your Honor entered the order approving that Settlement

on January 19, 2022, [ECF No. 3114].4 ISC states that “neither the Settlement Agreement, … nor

the Funds’ current claims against ISC (filed November 2, 2021) even existed” at the time the

District Court ordered remand over ISC’s objection. See Response at 9. ISC then argues that,

therefore, “it is impossible for a … District Court sitting in Florida to make a determination about

this Court’s exclusive jurisdiction over property of the estate for claims that had not even been


4
 ISC states that “[t]he clear terms of the approved [Trustee-ISC] Settlement Agreement were
known to the Funds.” Response at 4. This is true but irrelevant. None of the Trustee-ISC
Settlement, the transcript of the approval hearing or the approval order referenced the Florida
Action or provided for a bar order barring continued prosecution of that Action.
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asserted at the time the alleged determination was made.” Id. This allegation is misleading at best.

ISC makes this representation to Your Honor while neglecting to disclose the filing of the initial

complaint in Florida state court occurred on September 1, 2020, several months before issuance of

the Reports and Recommendation on January 13, 2021 (No. 1:20-24012) and February 16, 2021

(No. 1:20-25257), and the Orders adopting them on June 23, 2021 (No. 1:20-24012) and August

10, 2021 (No. 1:20-25257). It is irrefutably the case that ISC knew precisely what the Funds were

suing it for in the Florida Action, and any suggestion by ISC to the contrary is baseless. Armed

with that knowledge and substance of the Reports and Recommendation and District Court Orders,

ISC could have reconsidered the wisdom of the settlement it reached with the Trustee on December

6, 2021, or abandoned it or conditioned it on the issuance of a bar order by this Court barring the

Funds from continuing to prosecute the Florida Action. And ISC could have raised this issue with

the Court at the January 13, 2022, hearing on the approval of its settlement with the Trustee. But

it did none of those things. Instead, it proceeded with the Trustee-ISC Settlement with the Trustee

approved by this Court on January 19, 2022, and paid the Trustee $5,750,000—eyes wide open

that a federal court in Florida rejected the very theories it now advances in this Court.

         In the face of these undisclosed adverse rulings, ISC has commenced the instant Adversary

Proceeding and has threatened to seek yet more of this Court’s time with litigation to set aside its

settlement with the Trustee and the Trustee’s settlement with the Funds if this Court does not rule

in its favor. ISC’s conduct is outrageous.

         II.      The Allegations in the Funds’ Florida Complaint Govern the Determination
                  of Whether Those Claims are Direct Claims or Derivative Claims

         According to controlling California state law, “[i]n determining whether an individual

action as opposed to a derivative action lies, a court looks at the gravamen of the wrong alleged in

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the pleadings.” Holistic Supplements, L.L.C. v. Stark, (2021) 61 Cal.App.5th 530, 542 (quotation

omitted) (emphasis supplied); Van Steenwyk v. Van Steenwyk, 2021 WL 4815212, at *6 (C.D. Cal.

Mar. 23, 2021) (examining allegations in a complaint in determining whether claims for breach of

fiduciary duty and aiding and abetting breach of fiduciary duty were direct claims or derivative

claims) (applying California law). Caselaw cited by ISC is in accord. See, e.g., Patrick v. Alacer

Corp., 167 Cal.App.4th 995, 1016 (Cal. App. 4th Dist., 2008) (reviewing complaint’s allegations in

determining that plaintiff’s fraud claim against defendant was a direct claim); In re Mark One

Corp., 619 B.R. 423, 436-40 (Bankr. E.D. Cal. 2011) (applying California law) (reviewing

allegations in state court complaint); In re Advanced Packaging & Prods. Co., 426 B.R. 806, 820-

21 (C.D. Cal. 2010) (same).5 Florida law holds the same: “We look to the body of the complaint

to determine whether the injury is direct to the shareholder or the corporation.” Dinuro

Investments, LLC v. Camacho, 141 So. 3d 731, 740 (Fla. 3d DCA 2014); Arbitrage Fund v. Petty,

307 So. 3d 119, 126 (Fla. 3d DCA 2020) (“In so far as all counts directly or indirectly alleged this

particular harm, they sufficiently pleaded a direct harm for which the Unaffiliated Shareholder has

standing to sue directly under Dinuro.”); see also Medkser v. Feingold, 307 F. App'x 262, 265

(11th Cir. 2008) (claims direct where complaint “state[d] that the defendants made intentional

misrepresentations to … plaintiffs and thereby fraudulently induced them to invest their money”).


5
 Quoting from In re Madoff, 848 F.Supp.2d 469 (S.D.N.Y. 2012), ISC states that when based on
factual allegations in support of tort claims where the “wrongs pleaded” in the state court action
and the trustee’s federal action are the same and the state court complaint “explicitly rel[ies]” on
allegations made by the trustee, the claims were property of the estate. Response at 9-10. ISC’s
reliance on Madoff for the proposition that courts compare factual allegations in determining
whether state law claims are direct or derivative is not only directly contrary to several of the
cases ISC cites, above, which confirm that the allegations in the state court complaints control, but
misplaced. Unlike in Madoff, the FL Complaint does not rely on a complaint filed by the Trustee
because she did not file a complaint—instead as this Court knows full well, the matter was settled
pre-suit.
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         ISC states that “Medsker only suggests that [misrepresentation claims are direct claims] if

there are statements by defendants to plaintiffs. None exist here.” Response at 13; see also id. at

6. But this is simply false—such allegations are made in the FL Complaint. See, e.g., Exhibit 5 to

ISC Adversary Complaint (Complaint filed in Florida Action, hereafter, the “FL Complaint”), ¶¶

5 (“ISC knew that ISC’s false statements in the ISC Fraudulent Sublease would be provided to the

Funds to induce them to invest or to maintain their investments, and in fact they were.”)

(emphasis supplied); see also FL Complaint, ¶ 2 (“ISC knew the fraudulent sublease agreement

would be used to induce the Funds to invest in DC Solar or to maintain their current investments

in DC Solar.”) and ¶ 52 (“Kelleher and ISC knew in December 2016 that DC Solar was using its

deals with ISC to close deals with prospective investors and to maintain current investors’

investments. ISC knew that DC Solar needed to show current and potential investors that there

was a robust lease market for MSGs and that MSG sublease agreements were in place. ISC further

knew that ISC’s deals with DC Solar would be provided to prospective and current investors to

solicit and persuade investors to invest and to maintain their investments.”); 72 (reciting false

statement of material facts by ISC), 74 (alleging ISC knew the statements were false when made),

75 (alleging reliance upon ISC’s false statements) and 76 (alleging ISC’s false statements were

the legal cause of the damages the Funds suffered).

         Even further, Florida law does not require that the misrepresentations be made directly to

Plaintiffs but may be repeated to them. See, e.g., Florida Standard Jury Instr. 409.7 (“Third,

whether (defendant) intended that another would rely on the false statement”) (emphasis supplied);

Florida Stand. Jury Instr. 409.9 cmt. 2 (“For example, these instructions may require modification

if false information was passed on to the plaintiff by a ‘recipient.’”) (emphasis supplied); First

Fla. Bank, N.A. v. Max Mitchell & Co., 558 So. 2d 9, 14 (Fla. 1990); Rest. (Second) of Torts §
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552(2)(a) (defendant is liable to “the person or one of a limited group of persons for whose benefit

and guidance he intends to supply the information or knows that the recipient intends to supply

it”) (emphasis supplied).

         ISC states that allegations in its Adversary Complaint must be accepted as true and

construed in the light most favorable to the plaintiff. Response at 6. The Funds agree with this

legal proposition; however, ISC references the wrong complaint. As the above-cited cases confirm,

the allegations due to be reviewed are those in the FL Complaint attached as Exhibit 5 to ISC’s

Adversary Complaint. Your Honor said so at the June 30 hearing:

         I can tell you, to the extent I read the [Funds’ FL C]omplaint and it says its a
         claim for misrepresentations based upon statements made by ISC, you’re
         going to have a very hard time convincing me that it is property of the estate.

June 30, 2022 Hr’g Transcript at 30:25 thru 31:1-4 (emphasis supplied).

         That a complaint is reviewed to determine if it states a direct or derivative claim is true

under federal law as well, where even a plaintiff is not entitled to discovery to prove it is asserting

a direct claim. See, e.g., In re Facebook, Inc. Shareholder Deriv. Privacy Lit., 411 F. Supp. 3d

649 (N.D. Cal. 2019) (holding that a plaintiff’s standing to sue in a derivative suit must be

determined on the basis of the well-pled allegations of the complaint). The question for the Court

is what is pled, not what a jury will ultimately determine. See id.

         Put another way, if ISC is correct that the Funds cannot prove the misrepresentation claims

pled, that does not mean that the Funds asserted a derivative claim—it simply means that the Funds

will be unable to prove the facts of the direct claim they alleged in their FL Complaint at trial. The

result will be that there is no recovery from ISC—either the Funds have pled a direct claim or they

cannot prove a direct claim. In any event, nothing will be taken from the Bankruptcy Estate because

the claims are being asserted against ISC, a non-Debtor. Because it is undisputed that, if the Funds
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prevail in the Florida Action, no recovery will be paid to the Bankruptcy Estate, ISC’s reliance

upon St. Paul Fire & Marine Ins. Co. v. PepsiCo, Inc., 884 F.2d 668 (2d Cir. 1989), cited for the

proposition that only a trustee has standing to prosecute claims against third parties that would

bring monies into a bankruptcy estate, Response at 12, is misplaced.

         In any event, it is impossible for the Trustee to have settled, and this Court to have

approved, the settlement of the Funds’ claims that are currently pled as direct claims in the Florida

Action. To do so, this Court would have to leap ahead and make itself the jury, trial court, and

appellate court of Florida, and exercise subject matter jurisdiction it does not possess over claims

between non-debtor third parties that are not property of the Bankruptcy Estate. Ultimately, the FL

Complaint sufficiently alleges direct claims compelling dismissal of this Adversary Proceeding in

favor of the Florida court’s continued jurisdiction over the Florida Action. See pg. 8-9, above. And

the rule of law that investment-induced claims are direct claims does not change, as suggested by

ISC, see generally Response, even if the Debtors suffered the same or substantially similar harm

as the Funds based on the same or substantially similar set of operative facts. See Sutter, 28 Cal.

2d 525, 530 (1946) (holding that “a stockholder may sue as an individual where he is directly and

individually injured although the corporation may also have a cause of action for the same wrong”

and allowing shareholder to sue in his own right for being fraudulently induced to invest and

holding that the corporation also suffered harm did not preclude the shareholder’s suit; cited

approvingly by the Ninth Circuit in Pareto v. F.D.I.C., 139 F.3d 696, 699 (9th Cir. 1988) for the

proposition the “mere presence of an injury to a corporation does not necessarily negate the

simultaneous presence of an individual injury.”); Goles v. Sawhney, 5 Cal.App.5th 1014, 1018 n.3,

(2016) (“A single cause of action by a shareholder can give rise to derivative claims, individual

claims, or both.”); Crain v. Elec. Memories & Magnetics Corp., 50 Cal. App. 3d 509, 521-22
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(1975) (permitting direct claims where minority shareholders suffered injury, despite simultaneous

harm to corporation); Medkser, 307 F. App’x at 264 (“The fact that some other investors may have

been similarly injured does not transform these direct claims into derivative ones.”); Matter of

Buccaneer Res., LLC, 912 F.3d 291, 293 (5th Cir. 2019) (“even when the conduct harms the

debtor, the creditor may also have a claim if its asserted injury does not flow from injury to the

debtor. This means that the estate and a creditor may have separate claims against a third party

arising out of the same events.”).

         A Ninth Circuit case cited by ISC, Mosier v. Stonefield Johnson, Inc., CPAs, 815 F.2d 1161

(9th Cir. 2016), Response at 13, confirms the foregoing rule. In Mosier, the Ninth Circuit cited its

prior decision in Smith v. Arthur Andersen LLP, 421 F.3d 989 (9th Cir. 2005) for the proposition

that creditors still maintain their claims even if the receivership suffered damages from the same

conduct. 815 F.3d at 1166-67. Mosier is otherwise distinguishable because it dealt with a receiver’s

standing (not a creditor’s standing). In Mosier, the receiver was found to possess standing to sue

on behalf of the receivership entities, not their investors, former auditors whose reports materially

misstated the receivership entities’ financial condition which prolonged their corporate life

allowing looting to continue. Id. at 1166-67.

         ISC relies upon Hoyt v. Aerus Holdings, L.L.C., 447 B.R. 283 (Bankr. D. Ariz. 2011), for

the proposition that where claims being asserted in a state action by a creditor share the same

factual predicate of claims assertable by a bankruptcy trustee, then the state law claims belong

exclusively to the trustee. Response at 10. This is not the law of California or Florida and not

surprisingly, Hoyt is distinguishable in a way that renders ISC’s reliance thereon misplaced. Hoyt

turned on the fact that the successor liability claims being asserted in the state law action were in


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actuality fraudulent transfer (avoidance) claims that belong solely to the bankruptcy estate absent

abandonment. See id. at 287. The Funds acknowledge that avoidance claims belong solely to a

bankruptcy estate absent abandonment by a trustee, but they assert no such claims in the Florida

Action. The same analysis applies to ISC’s reliance on other cases, each of which also turned on

the determination that state law claims, however denominated, were duplicative of fraudulent

transfer claims belonging solely to the bankruptcy estates.6 ISC’s reliance on In re Plaza Mtg. &

Fin. Corp., 187 B.R. 37 (Bankr. N.D. Ga. 1995), Response at 13, is also misplaced. Plaza Mtg.,

cited for the proposition that a trustee possesses standing to assert fraud and conspiracy claims,

id., is distinguishable. There, a trustee had standing to sue the debtor’s former accountant for

malpractice and fraud on the debtor due to preparation of false and materially misleading financial

statements and other actions resulting in the debtor being unable to repay investors. 187 B.R. at

43-44.

         The Trustee did not possess and could not settle or prosecute the claims being asserted by

the Funds against ISC in the Florida Action. See Caplin v. Marine Midland Grace Trust Co., 406

U.S. 416 (1972) (holding that a reorganization trustee lacked standing to assert claims of

misconduct against a third party, a trustee for debenture holders, for holders of the debtor’s




6
 See, e.g., In re Madoff, 848 F. Supp. 2d at 483; Sec. the Inv’r Prot. Corp. v. Bernard L. Madoff
Inv. Sec., LLC, 598 B.R. 102 (S.D.N.Y. 2019); In re Howrey, LLP, 2014 WL 3899309, at *4-5
(N.D. Cal. Aug. 8, 2014); In re Bridge Info. Sys., Inc., 325 B.R. 824, 835 (Bankr. E.D. Mo. 2005).
ISC cites to part of the WHEREFORE clause in the FL Complaint which ISC says reflects that the
Funds seek recovery of annual sponsorship fees of $7.5 million. Response at 18. ISC contends that
this request for relief constitutes a fraudulent conveyance claim that belongs to the Bankruptcy
Estate. Id. This is incorrect, but to remove any doubt, prior to filing this Reply, the Funds filed
their Plaintiffs’ Notice of Election of Remedy with the Florida state court eliminating the
disgorgement remedy.
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debentures7); Smith, 421 F.3d at 1002 (holding that a trustee in a reorganization under Chapter X

of the Bankruptcy Act did not have standing to assert, on behalf of persons holding debentures

issued by the debtor, claims of misconduct by an indenture trustee8); Fluharty v. Stewart, No.

1:17CV136, 2018 WL 4656412 (N.D. W.Va. Sept. 27, 2018) (affirming bankruptcy court’s denial

of trustee’s motion to compromise claims in state court litigation where such claims did not

constitute property of the estate, and lifting automatic stay9). The Court recognized as much in its

June 17 Order in finding that ISC failed to establish a likelihood of success on the merits, stating

as follows:

         The [Funds] sued ISC in the Florida action for fraudulent and negligent
         misrepresentations that induced them to invest, alleging that ISC concealed facts
         from the [Funds] that caused the [Funds] to invest in DC Solar, and aiding and
         abetting and conspiracy to induce the [Funds] to invest in DC Solar. It is unclear to
         the court how the trustee could settle the [Funds’] claims against ISC for
         misrepresentation and concealment. Thus, ISC has not established that it is likely
         to succeed on the merits.

[ECF No. 23 at 3 (emphasis in original)].

         Still further, at the June 30 status conference before the Court, the Trustee, through counsel,

expressly acknowledged that the Trustee-ISC Settlement did not and could not settle the Funds’

direct claims against ISC. See June 30, 2022 Hr’g Transcript at 23:3-7 (“the trustee can only settle

estate claims. The trustee does not – any claims that are direct claims owed by a creditor, the


7
  ISC argues that Caplin does not address whether a claim is property of the estate. Response at
14-15. The Funds cite Caplin for the proposition that bankruptcy trustees lack standing to assert
creditors’ claims.
8
  ISC states that Smith acknowledges that a trustee can sue for damages to a debtor. Response at
14. This is true but irrelevant because the Funds are suing for damages they suffered.
9
  ISC wrongly asserts that Fluharty confirms that the claims by creditors based on the same factual
predicate clams asserted on behalf of a bankruptcy estate are derivative claims. Response at 15.
Quoting Fluharty, ISC states that claims that are “general and common” to the debtor and creditors
are derivative claims; however, the claims here are direct because the misrepresentation and
concealment claims were made to the Funds, not all creditors of the Debtors.
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trustee does not have the authority.”); and 24:8-12 (“the trustee’s view is first settlement

agreement says what it says, it was approved by the Court, it settles estate claims, and we did not

seek an emotion [sic] or did we receive any order of the right to settle anything other than

estate claims.”) (emphasis supplied). The Trustee’s counsel also confirmed that the Trustee-ISC

Settlement did not include a bar order. See id. at 23:13-15.

         III.   ISC’s Fact Arguments Fails Because the Trust for Whether a Claim is Direct
                or Derivative is Not Overlapping Facts But Whether Direct Injury is Pled

         ISC now argues that the Trustee-ISC Settlement “reveals the Funds’ claims against ISC

are based on the same factual predicate as the Trustee’s claims, and were always derivative and

property of the DC Solar bankruptcy estate.” Response at 19-20. This is not the test for whether a

claim is direct or derivative. The test is not whether the claims allege similar facts by the

wrongdoer, the test is whether plaintiff “is directly and individually injured.” Sutter, 28 Cal.2d at

530. In fact, under controlling California law, the same facts can lead to both a direct and a

derivative claim depending on the injury suffered—directly refuting ISC’s “fact” argument. See,

e.g., Sutter, 28 Cal.2d at 530 (“a stockholder may sue as an individual where he is directly and

individually injured although the corporation may also have a cause of action for the same

wrong”); Goles, 5 Cal.App.5th 1014, 1018 n.3 (“A single cause of action by a shareholder can give

rise to derivative claims, individual claims, or both.”); Crain, 50 Cal. App. 3d at 521-22 (permitting

direct claims where minority shareholders suffered injury, despite simultaneous harm to

corporation).

         Other than an incorrect legal test, ISC offers nothing in its Response beyond what it

previously offered through its memorandum of law [ECF No. 22] in support of motion to obtain a

TRO or preliminary injunction [ECF No. 21] to demonstrate that the claims being asserted in the

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Florida Action are derivative claims. Neither the relevant facts nor law has changed between ISC’s

prior, failed effort to obtain a TRO and its current effort to avoid dismissal of this Adversary

Proceeding. The Court should find—again—that the claims asserted in the Florida Action are

direct claims that are not property of the Bankruptcy Estate.

                                             Conclusion

             The Court should dismiss this Adversary Proceeding or abstain in favor of the court

presiding over the Florida Action. ISC is actively defending the Florida Action through its pending

Motion to Dismiss which argues that the Funds “lack standing to pursue these claims against ISC”

because they “belong solely to DC Solar’s bankruptcy trustee and cannot be asserted and pursued

by [the Funds] in this state court.” Motion to Dismiss at 3; id. at 33 (same). The Judge presiding

over the Florida Action should adjudicate this issue and, if resolved in the Funds’ favor, he should

proceed to adjudicate the merits of the Funds’ claims.

Dated: July 28, 2022                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that, on July 28, 2022, a true and correct copy of the foregoing was

served electronically through the Court’s CM/ECF system upon all parties registered to receive

electronic notice in this case, specifically including counsel for Plaintiff International Speedway

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